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EXHIBIT A

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

In Re: Methyl Tertiary Buty] Ether ("MtBE") MDL No, 1358

Products Liability Litigation Master File C.A. No.

~ 1:00-1898 (SAS)

This document relates to the following cases:

City of New York v. Amerada Hess Corp., et al.

04 Civ. 3417

EXPERT REBUTTAL REPORT OF David B. Terry, P.G.

LEGGETTE, BRASHEARS & GRAHAM, INC.
6 Arrow Road
Ramsey, NJ 07446

. aT
| March 23, 2009

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Signature Date

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’ , AIG LW - -9s
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